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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
                                                            :
 THE UNITED STATES OF AMERICA,                              :
                                                            :
                                                            :
 v.                                                         :
                                                            :
 ROBERT C. MORGAN,                                          :   18-CR-108-EAW
                                                            :
                                     Defendant.             :
                                                            :
                                                            :
------------------------------------------------------------x


    [PROPOSED] ORDER GRANTING MOTION FOR ORDER CONFIRMING THE
    LACK OF PRETRIAL RESTRAINT ON DEFENDANT ROBERT C. MORGAN’S
      PROPERTY AND ENJOINING THE GOVERNMENT AGAINST FURTHER
                        UNLAWFUL RESTRAINT


        This matter having come before the Court, and the Court having considered the written

submissions and statements at the hearing, and good cause having been shown, the Court hereby

ORDERS as follows:

        It is ORDERED that Mr. Robert C. Morgan’s Expedited Motion for an order confirming

the lack of pretrial restraint on Mr. Morgan’s property and enjoining the government against

further unlawful restraint is GRANTED.

        The Court hereby orders as follows:

        ORDERED that in the present criminal action pending before the Court, none of the

properties in which Mr. Morgan has an ownership interest, directly or indirectly, are currently

subject to a lawful pretrial restraint or seizure by the United States and, as such, there is no

restriction or impediment on the sale, transfer, or disposition of any proceeds of such properties at

this time;
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        FURTHER ORDERED that the government is enjoined from further interference with

the sale, transfer, or disposition of proceeds of any properties in which Mr. Morgan has an

ownership interest, directly or indirectly, absent an application by the government to the Court and

an subsequent order from the Court pursuant to 21 U.S.C. § 853;

        FURTHER ORDERED that the government shall provide notice of the same to all third

parties to whom the government has previously communicated about criminal or civil forfeiture

related to this action.

        SO ORDERED.



Dated: Rochester, New York                           ___________________________________
       July _____, 2019                              United States District Judge
